8/18/2021

MA Corporations Search Entity Summary

Corporations Division

Business Entity Summary

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ID Number: 001107586 [New search:
Summary for: CAPE LIFE GIFTS INC
The exact name of the Domestic Profit Corporation: CAPE LIFE GIFTS INC
Entity type: Domestic Profit Corporation
Identification Number: 001107586
Date of Organization in Massachusetts:
05-20-2013
Last date certain:
Current Fiscal Month/Day: 12/31
The location of the Principal Office:
Address: 337 MAIN ST
City or town, State, Zip code, HARWICH PORT, MA 02646 USA
Country:
The name and address of the Registered Agent:
Name: ARTHUR WRIGHT
Address: 852 MAIN ST, RTE 28
City or town, State, Zip code, SOUTH YARMOUTH, MA 02664 USA
Country:
The Officers and Directors of the Corporation:
Title Individual Name Address
PRESIDENT ARTHUR D WRIGHT 852 MAIN ST, RTE 28 SOUTH YARMOUTH,
" MA 02664 USA
TREASURER ARTHUR D WRIGHT 852 MAIN ST, RTE 28 SOUTH YARMOUTH,
MA 02664 USA
SECRETARY ARTHUR D WRIGHT 852 MAIN ST, RTE 28 SOUTH YARMOUTH,
MA 02664 USA
VICE PRESIDENT | SHARON MAY WRIGHT 19 REBECCA LANE SOUTH YARMOUTH, MA
02664 USA
DIRECTOR ARTHUR D WRIGHT 852 MAIN ST, RTE 28 SOUTH YARMOUTH,
MA 02664 USA

 

 

 

 

 

 

Business entity stock is publicly traded: (|)

 

 

The total number of shares and the par value, if any, of each class of stock which
this business entity is authorized to issue:

Total Authorized Total issued and
outstanding
Class of Stock Par value per share
No. of shares Total par No. of shares
value

 

https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=Yo3 TWBHSXkU3h8bJ2wRMoAL7qUP_dRGzogWnLNLa4ZM-

 

1/2
8/18/2021 MA Corporations Search Entity Summary

 

 

» |fCwP $ 0.01 7,500 $ 75.00 100
CJ —) Confidential () Merger ‘2
Consent Data Allowed Manufacturing

 

View filings for this business entity:

 

ALL FILINGS
Administrative Dissolution
Annual Report
Application For Revival
Articles of Amendment

Lath,

 

 

 

 

 

 

Comments or notes associated with this business entity:

 

 

 

 

 

 

 

 

https://corp.sec.state.ma.us/CorpWeb/CorpSearch/CorpSummary.aspx?sysvalue=Yo3TWBHSXkU3h8bJ2wRMoAL7qUP_dRGzogWnLNLa4ZM-

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